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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                      Case No. 15-20317
                                                        HON. AVERN COHN
DAMON BURNETT (D-1), et al.,

     Defendants.
___________________________________/

                   MEMORANDUM REGARDING PRETRIAL RELEASE
                            OF DAMON BURNETT

                                            I.

      This is a criminal case. On October 2, 2015, the Court entered an order styled

Order Setting Conditions of Release (Doc. 266), releasing defendant, Damon Burnett

(Burnett) from pretrial detention. The order was entered following a hearing in open

court. This Memorandum restates and extends the reasons the Court gave from the

bench for revoking an order of detention.

                                            II.

      Burnett is one (1) of 24 persons who are the subject of a five (5) count Second

Superseding Indictment filed on July 29, 2015, as follows:

      •       Count One: Conspiracy to Possess with Intent to Distribute Controlled

              Substances, in violation of 21 U.S.C. §§ 846 and 841(a)(1) (all

              defendants)

      •       Count Two: Possession of a Firearm in Furtherance of a Drug Trafficking

              Crime, in violation of 18 U.S.C. § 924(c) (Burnett)
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       •      Count Three: Felon in Possession of a Firearm, in violation of 18 U.S.C.

              § 922(g) (Burnett)

       •      Count Four: Possession with Intent to Distribute Cocaine, in violation of

              21 U.S.C. § 841(a)(1) (Maurice Littles)

       •      Count Five: Conspiracy to Sponsor and Exhibit an Animal Fighting

              Venture, and to Buy/Sell/Deliver, Possess, Train, and Trsnport Animals for

              Participation in an Animal Fighting Venture, in violation of 18 U.S.C. § 371

              and 7 U.S.C. § 2156(a) and (b) (six (6) defendants, not including Burnett)

       Burnett has been in custody since May 15, 2015, following his arrest on a

complaint (Doc. 1). Burnett was indicted on May 28, 2015, in a three (3) count

indictment (Doc. 8). He consented to detention (Doc. 7).

       A Pretrial Services Report dated May 18, 2015, recommended detention

because Burnett posed a risk of nonappearance and posed a danger to the community.

       On June 11, 2015, Burnett filed a motion styled Emergency Motion to Revoke

Consent Order of Detention (Doc. 13), in which he briefly argued for release, agreeing

to electronic monitoring and home confinement, arguing that these conditions would

place him under strict confinement, ensuring the safety of the community.

       The government responded to Burnett’s motion (Doc. 15), arguing that Burnett

presented a danger to the community and a risk of nonappearance, citing his prior

convictions and describing the numerous firearms found in his home at the time of his

arrest. The government said that Burnett needed to be detained because there were no

combination of conditions that could reasonably ensure the safety of the community.

       The Court held a hearing on defendant’s motion on June 19, 2015, at which the

Court said the following:

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               . . .Whether or not you grant somebody pretrial release, and
               this Court has been in the past I wouldn’t say generous but
               has more often than not released folks. This is the
               circumstance given the number of weapons that were
               present in the house and the other circumstances that I think
               that I’m not going to disturb the detention right now. So the
               motion’s denied. I think you two should get together and
               decide whether this case is going to go to trial.

                                             ***

               The sooner you do, the better off it will be for the
               government and for the defendant. Thank you.

         The unspoken premise of the Court’s declining release was encouragement to

resolve what appeared to be an unexceptional criminal case short of trial.

         At the June 19 hearing, the government said nothing about a superceding

indictment much less that a 24 defendant superseding indictment was forthcoming.

         On July 23, 3015, the government filed a First Superseding Indictment containing

three (3) counts was returned on July 23, 2015, naming Burnett and Littles (Doc. 19).

         As noted above, a few days later, the government filed the Second Superceding

Indictment naming 24 defendants, including Burnett and Littles.

         The Court held a status conference on the Second Superseding Indictment on

September 25, 2015, at which Burnett asked that the denial of his release be revisited.

                                              III.

         The record in the Eastern District of Michigan is that approximately 30% of

offenders are detained pretrial and approximately 70% are on release. The record also

shows that very few of the 70% recidivate. See The Eastern District of Michigan: How

Does It Consistently Achieve High Release Rates? 76 Fed. Probation 15 (Sept. 2012).

The article is attached to United States v. Smith, 2015 WL 2084720 (E.D. Mich. May 4,

2015).

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       Neither the government nor Pretrial Services have analyzed the background,

charges and other relevant circumstances which would go into an assessment of where

Burnett falls in terms of the 30% of offenders who are detained and the 70% who are

released. The Court is satisfied, based on its experience and its colloquy with Burnett

at the October 5, 2015, hearing, that Burnett likely falls in with the 70% of offenders who

are released pending trial. While Burnett has an extensive criminal history and had in

his possession numerous firearms, he has no history of crimes of violence or use of

firearms.

       This case is not likely to go to trial for a very long time. At the conference on

September 25, 2015, the government rejected out of hand the Court’s suggestion that

the drug and weapons counts be bifurcated from the dog fighting count. This suggests

the path forward will not be an easy one.

       Also, the government did not have available to the Court at the October 2, 2015,

hearing the hierarchy of culpability chart requested at the September 25, 2015,

conference.

       A third consideration supporting release is that due to circumstances beyond the

United States Marshal’s control, Burnett is currently being detained in the Sanilac

County Jail, and has been there for some time. The jail is located in Sandusky,

Michigan, a 2-½ hour drive from Detroit, making it difficult for Burnett to talk to his

lawyer face-to-face, transport to and from Court proceedings, as well as family visits.

Other jail facilities available to the Marshal for offenders awaiting trial, while not so

distant, are still a good distance from Detroit.

                                              IV.

       18 U.S.C. § 3145(b) governs review of detention orders and provides that

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              [i]f a person is ordered detained by a magistrate judge. . .that
              person may file, with the court having original jurisdiction
              over the offense, a motion for revocation or amendment of
              the order. The motion shall be determined promptly.

       A court may order detention of the defendant if, by clear and convincing

evidence, the court finds that no set of conditions will reasonably assure the

appearance of the person and the safety of the community. See 18 U.S.C. § 3142(f).

In determining whether no combination of conditions will reasonably assure the

appearance of the defendant and the safety of the community, the district court must

take into account the available information concerning (1) the nature and circumstances

of the offense charged; (2) the weight of the evidence against the defendant; (3) the

history and characteristics of the defendant; and (4) the nature and seriousness of the

danger posed by the defendant’s release. See 18 U.S.C. § 3142(g).

                                            V.

       The order which set the conditions of release, a copy of which is attached,

includes a multitude of restrictions on Burnett. These restrictions satisfy the Court that

under the totality of the relevant circumstances, and under the statutory criteria, Burnett

on release is not a danger to the community, or a flight risk.



                                          S/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE

Dated: October 7, 2015
      Detroit, Michigan




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